101 F.3d 106
    NOTICE: First Circuit Local Rule 36.2(b)6 states unpublished opinions may be cited only in related cases.UNITED STATES, Appellee,v.Rony E. ORELLANA, Defendant, Appellant.
    No. 96-1795.
    United States Court of Appeals, First Circuit.
    Nov. 14, 1996.
    
      Rony E. Orellana on brief pro se.
      Sheldon Whitehouse, United States Attorney, and Stephanie S. Browne, Assistant United States Attorney, on brief for appellee.
      Before TORRUELLA, Chief Judge, SELYA and STAHL, Circuit Judges.
      PER CURIAM.
    
    
      1
      Having read carefully the record in this case, including the briefs of the parties, we affirm the denial of appellant Orellana's motion for return of seized property.
    
    
      2
      Orellana's sole claim argued on appeal is that the administrative forfeiture of money seized from him at the time of his arrest violated due process because he did not receive adequate prior notice of the intended forfeiture.  However, the record indicates that prior notice was sent by first class mail to the detention center in which Orellana was at the time incarcerated.  Generally, notice sent by ordinary mail to an address at which the intended recipient resides is sufficient to meet the requirements of the due process clause.   See Weigner v. City of New York, 852 F.2d 646 (2d Cir.1988), cert. denied, 488 U.S. 1005 (1989).  "[T]he proper inquiry is whether the [government] acted reasonably in selecting the means likely to inform persons affected, not whether each property owner actually received notice."   Id. at 649;   see also United States v. Giraldo, 45 F.3d 509, 511 (1st Cir.1995).  Contrary to Orellana's suggestion, notice by certified mail is not required.   Weigner, 852 F.2d at 650-51.   Furthermore, Orellana made no clear claim below that he did not receive actual notice of the intended forfeiture and no allegation at all that the government was aware that the notice had not been received.  In these circumstances, we see no error in the denial of Orellana's motion for return of his seized property.
    
    
      3
      Affirmed.
    
    